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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Mark Volpe,                                    Case No. 1:16-cv-01556

       Plaintiff,

v.

Golden Ticket Getaways, Inc.

       Defendant.




                           NOTICE OF VOLUNTARY DISMISSAL

Plaintiff hereby dismisses this case pursuant to Federal Rule of Civil Procedure 41a(1)A(i).


                                             RESPECTFULLY SUBMITTED,

                                             Hyslip & Taylor, LLC LPA



                                             By:    /s/ Mark T. Lavery
                                             One of Plaintiff’s Attorneys


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